The petition is denied. [1] By his general appearance in the justice's and superior court petitioner waived his right to raise the question of jurisdiction.Holbrook v. Superior Court, 106 Cal. 589, [39 P. 936], does not aid him. That case was decided when section 890, subdivision 4, of the Code of Civil Procedure expressly provided that the objection that the action was brought in the wrong county might be made at the trial. In 1905 [Stats. 1905, p. 44], the section was amended, and subdivision 4 thereof now merely provides that the action may be dismissed "when the action is brought in the wrong county, township or city." Since the amendment, the subject of dismissal of such actions has been considered by the supreme court, and it has been uniformly held that objection to the jurisdiction of the person must be made by special appearance for that purpose; otherwise it is waived. (Olcese v. Justice's Court, 156 Cal. 82, [103 P. 317]; American Law Book Co. v. Superior Court,164 Cal. 327, [128 P. 921].) *Page 328 